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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 MEDLINE INDUSTRIES, INC.             )
                                      )
                     Plaintiff,       )    No. 17-cv-7216
                                      )
         vs.                          )    Hon. Sara L. Ellis
                                      )    Hon. Magistrate Judge Michael T.
 C. R. BARD, INC.                     )    Mason
                                      )
                     Defendant.       )



             REPLY BRIEF IN SUPPORT OF C. R. BARD’S
RENEWED MOTION TO STAY AFTER INSTITUTION OF INTER PARTES REVIEW




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I.       INTRODUCTION

         Bard’s motion establishes that each of the factors considered by courts weighs heavily in

favor of staying this case. A stay here will simplify the issues and streamline any trial, greatly

reduce the burdens of litigation, and will not unduly prejudice Medline. Medline fails to address

Bard’s arguments, neglects to distinguish any of Bard’s cases, and simply cannot explain why it

would be reasonable to embark on expert discovery here when the PTAB’s parallel proceeding

likely will nullify most if not all of Medline’s asserted claims.

         Medline’s only argument in opposition—based on the inaccurate assertion that expert

discovery is already underway here—is that the parties might as well proceed with costly expert

discovery on the four patents at issue in this case because they are already extremely busy

conducting expert discovery on four other patents in the first two cases. This argument is not

only nonsensical, it reinforces the necessity of a stay here. It certainly does not warrant a

departure from what the vast majority of courts have found in similar circumstances: that “after

the PTAB has instituted review proceedings, the parallel district court litigation ordinarily should

be stayed.” See, e.g., NFC Tech. LLC v. HTC Am., Inc., Case No. 2:13-CV-1058-WCB, 2015

WL 1069111, at *7 (E.D. Tex. Mar. 11, 2015) (Bryson, J.). Bard’s renewed motion should

therefore be granted.

II.      ARGUMENT

         A.      Staying Expert Discovery Will Reduce, Not Increase, the Parties’ Expenses

         Medline primarily bases its opposition on the illogical contention that it would be more

efficient and less costly to proceed with expert discovery now as opposed to waiting for the

PTAB to make a final decision on the invalidity of the asserted patents (ECF No. 180 at 3.)

Inexplicably, Medline would rather proceed now with significant, unnecessary additional

expense.


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       But it is likely that there will be no claims left for the experts to address once the PTAB

issues its final decisions. As shown below, there is a more-than-sixty percent likelihood that the

PTAB will cancel all of Medline’s 20 asserted claims.1 Any alleged efficiencies gained from

preparing expert reports on the four patents at issue in this case at the same time the parties are

engaged in expert discovery on four different patents at issue in the other cases is greatly

outweighed by the high likelihood that all of the work in this case will be for naught.

       Moreover, even if only some of the claims are canceled—and there is a greater-than-

eighty percent likelihood that at least some will be canceled—the burden of preparing expert

reports will still be significantly reduced. The experts will only have to address a subset of the

20 claims currently asserted, and will not have to address the invalidity arguments rejected by the

PTAB, which Bard will be estopped from raising in this case. Regardless of the outcome, expert

discovery will be simplified—and therefore expenses will be minimized—by waiting until after

the PTAB has issued its final decisions.

       Finally, Medline’s argument is based on the faulty notion that there are substantial

efficiencies to be gained by having successive expert discovery schedules in Medline I, Medline

II, and this case. While the asserted patents in all three cases may be related, they have distinct

claims with distinct claim elements that by law are necessarily directed to distinct inventions.

UCB, Inc. v. Accord Healthcare, Inc., 890 F.3d 1313, 1323 (Fed. Cir.), cert. denied, 139 S. Ct.

574 (2018) (“By statute, only a single patent may issue for the same invention.”) The

infringement and invalidity analyses in these reports will differ significantly. For example, the

patents in this case involve multiple claim elements that do not appear in the patents asserted in


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  Medline incorrectly states that it is asserting 40 claims in this case. It is not, and cannot. The
local rules only permit Medline to assert 20 claims, which is what Medline did in its February
22, 2019 Identification of Asserted Claims under LPR 3.1(a)(1). (See Smith Reply Decl. Ex. 1.)



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Medline I or Medline II, such as “anti-reflux device,” “hand sanitizer,” “securement device,” and

“patient aid.” The expert reports in this case will therefore address different prior art than is it at

issue in the other cases, as well as different features of the accused products. Moreover, even if

there is some overlap as Medline’ contends, the experts will remain very active with the Medline

I and II cases, and therefore Medline’s assertion that they will have to “re-familiarize”

themselves with the subject matter of these cases does not make sense.

        Medline also falsely states in its opposition that “expert discovery across all three cases is

well underway.” (ECF No. 180 at 2.) But the parties are not engaged in expert discovery in this

case. They are still busily engaged in rebuttal expert reports in Medline I, and then have to begin

expert discovery in Medline II. It makes no sense to burden the parties with expert reports on

four additional patents in this case in the midst of expert depositions and rebuttal reports in the

first two cases when this additional discovery may very well become moot once the PTAB issues

its final decisions.2

        B.       The PTAB’s Institution Decisions Show That ALL Asserted Claims Are
                 Likely Invalid

        The PTAB rejected every one of Medline’s arguments opposing inter partes review with

respect to every one of the challenged claims. Medline, however, speculates that it is possible

the PTAB found that Bard is likely to prevail with respect to only one challenged claim in each

of the five petitions, and that SAS Institute Inc. v. Iancu, 138 S. Ct. 1348 (2018), required the


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  The already crowded expert discovery schedule in these cases is a problem of Medline’s
making. Medline moved in Medline II to extend the case schedule to allow it to belatedly
conduct fact discovery. When that motion was granted over Bard’s opposition, the parties
necessarily had to move to extend expert deadlines in this case, resulting in overlapping
deadlines. For example, opening expert reports in this case are currently due on August 28th,
only two days after the completion of expert depositions in Medline II. Rebuttal expert reports in
this case are due on October 7th, which is only a week before the close of expert discovery in
Medline II.



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PTAB to institute inter partes review on every other challenged claim as well. (ECF No. 180 at

4.) Medline goes so far as to selectively quote a formulaic conclusion paragraph in one of the

PTAB’s institution decisions in an effort to convince the Court that the PTAB really found that

only one claim was likely invalid. (ECF No. 180 at 4 n.2.)

       But Medline’s unfounded speculation ignores the clear tenor of the PTAB’s decisions

instituting inter partes review. As the institution decisions make clear, the PTAB did not

institute review on one likely invalid claim and then tack on all other claims merely because SAS

Institute requires it. The PTAB instituted review on all claims because it was persuaded by

Bard’s arguments demonstrating that they are likely invalid and was not persuaded by Medline’s

arguments to the contrary, as these excerpts from the same decision selectively quoted by

Medline show:

               “Patent Owner’s argument is unpersuasive for two reasons.”

               “Patent Owner provides no persuasive evidence that we should not accept [Bard’s
                expert’s] opinion on this issue.”

               “Based on the record currently before us, neither of Patent Owner’s arguments is
                persuasive.”

               “However, [prior art reference] Serany contradicts Patent Owner’s contention . .
                .”

               “The current record does not support Patent Owner’s contention . . .”


               “Patent Owner does not separately argue that limitations introduced in dependent
                claims 46–48, 50, 51, 55–58, and 60 are a basis for finding that any of these
                claims remain patentable over Solazzo and Serany. [] At this stage of the
                proceeding, we are persuaded that Petitioner has demonstrated a reasonable
                likelihood of proving that these claims are obvious.”

(See ECF No. 176-4 at 19, 21, 23, and 25–26.)

       Medline’s hypothesis also ignores the statistical probability that each of the 20 asserted




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claims likely will not survive inter partes review. As of February 28, 2019, the PTAB has

canceled all of the claims on which it has instituted inter partes review 63% of the time, and has

canceled all or some of the claims 81% of the time.3 Thus, there is a nearly two in three

likelihood this case will go away after the conclusion of the inter partes review (because all

claims are cancelled) and a four in five likelihood that there will be at least some simplification

of the issues (becomes some claims are cancelled). Medline can speculate that perhaps it will

beat the odds, but mere speculation is not enough to force the parties to engage in costly expert

discovery on issues that will likely be mooted when the PTAB reaches a final decision.

       C.      The Vast Majority of Work In This Case Lies Ahead

       Medline argues that “the stage of and schedule already set for this case means that a stay

will not simplify the issues in question, streamline the trial, or otherwise reduce the burden of

litigation on the parties or the Court.” (ECF No. 180 at 3.) This argument again ignores the high

likelihood that all of the asserted claims are canceled, thereby eliminating the rest of this case.

And as explained in Bard’s motion, the parties barely engaged in fact discovery in this case

because they are simply borrowing the discovery from Medline I and Medline II. Thus, the vast

majority of the work here lies ahead. Bard’s moving papers cited multiple cases that were stayed

at similar or even later stages of litigation than this one (ECF No. 176-1 at 11), but Medline did

not attempt to distinguish any of them.

       The only two cases on which Medline relies for the proposition that this case should not

be stayed were based on significantly different circumstances. In Saint Lawrence

Communications LLC v. ZTE Corp., the PTAB “instituted IPR on only one of five asserted



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 See the U.S. Patent and Trademark Office’s website for these statistics, which are available at
https://www.uspto.gov/sites/default/files/documents/trial_statistics_2019_february.pdf.



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patents, which amount[ed] to 6 of 38 asserted claims. Further, IPR on [one] patent was instituted

for only two prior art references.” Case Nos. 2:15-CV-349-JRG, 2:15-CV-351-JRG, 2017 U.S.

Dist. LEXIS 84290, at *8 (E.D. Tex. Jan. 17, 2017). Additionally, trial was “set to begin in less

than two months.” Id. at *9. And in Realtime Data LLC v. Actian Corp., the parties had

invested significant time and expense in fact discovery, and trial was only six months away. Civ.

No. 6:15-CV-463-RWS-JDL, 2016 U.S. Dist. LEXIS 187446, at *13, 15 (E.D. Tex. Nov. 29,

2016).

         Here, in contrast, the PTAB instituted review on every asserted claim and on every

ground raised in Bard’s petitions. The parties have engaged in almost no fact discovery, there is

no summary judgment briefing schedule yet, and a trial date has not been set. If trial does

proceed, it likely will not occur for more than a year, after the trials in Medline I and Medline II,

and long after the PTAB is required to issue its final decisions on the claims asserted in this case.

Expert discovery alone likely will eclipse the parties’ expenses to date in this case.

III.     CONCLUSION

         Bard’s motion establishes that each of the factors considered by courts weighs heavily in

favor of staying this case. Medline’s opposition fails to overcome that showing. Bard’s motion

should therefore be granted, and this case should be stayed until the PTAB issues its final

decisions in each of the inter partes review proceedings.



Dated: July 1, 2019


                                                 By: /s/ Nicole Smith
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